      Case 1:25-cv-11048-ADB           Document 60        Filed 05/16/25   Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                              Plaintiff,
                                                         Case No. 1:25-CV-11048-ADB
               v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,
                              Defendants.

  JOINT MOTION FOR STAY OF DEFENDANTS’ DEADLINE TO FILE ANSWER
        OR OTHERWISE RESPOND TO FIRST AMENDED COMPLAINT

       President and Fellows of Harvard College (“Harvard”) and Defendants United States

Health and Human Services, et al. (“Defendants”) hereby move this Court to stay Defendants’

deadline to file their Answer or otherwise respond to Plaintiffs’ First Amended Complaint, ECF

No. 59, until the Court has ruled on the parties’ dispositive motions.

       In support of the motion, the parties state as follows:

       1.      After the Court’s April 29, 2025 Order setting a deadline of May 19, 2025 for

Defendants to produce the Administrative Record in this case, ECF No. 47, Harvard received a

letter from Defendant Linda E. McMahon (dated May 5, 2025) informing Harvard that any

future grant applications submitted by Harvard would be denied.

       2.      Harvard has also received grant award termination letters from several

Defendants, including the National Institutes of Health (dated May 6, 2025); the United States

Department of Agriculture (dated May 9, 2025); and the Department of Defense, Department of

Energy, Department of Housing and Urban Development, and the National Science Foundation

(dated May 12, 2025).




                                                1
      Case 1:25-cv-11048-ADB           Document 60        Filed 05/16/25      Page 2 of 5




       3.      On May 13, 2025, Harvard filed its First Amended Complaint, which addressed

each of these letters and attached them as exhibits. See ECF No. 59 ¶¶ 7-10; 87-94; Ex. D-J.

       4.      The parties have conferred and agreed that all non-privileged materials directly

or indirectly considered in the issuance of these letters shall be included in the Administrative

Record that will be produced by Defendants on May 19, 2025. In light of these agreements, the

current briefing schedule continues to be amenable to the parties.

       5.      In addition, the parties have conferred and have agreed to stay Defendants’

deadline to file their Answer or otherwise respond to Plaintiffs’ First Amended Complaint, ECF

No. 59, until 30 days after the Court has ruled on the parties’ dispositive motions.

       6.      In light of the parties’ agreements, they respectfully request that the Court enter

an Order staying Defendants’ deadline to answer or otherwise respond to Plaintiffs’ First

Amended Complaint until 30 days after the Court has ruled on the parties’ dispositive motions.




                                                2
     Case 1:25-cv-11048-ADB       Document 60         Filed 05/16/25     Page 3 of 5




Dated: May 16, 2025                            Respectfully submitted,

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                                           3
      Case 1:25-cv-11048-ADB        Document 60   Filed 05/16/25   Page 4 of 5




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                                              4
       Case 1:25-cv-11048-ADB           Document 60        Filed 05/16/25        Page 5 of 5




                                CERTIFICATE OF SERVICE

       I, Steven P. Lehotsky, hereby certify that a true copy of this document filed through the

ECF system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) on May 16, 2025.


                                                        /s/ Steven P. Lehotsky
                                                        Steven P. Lehotsky




                                                 5
